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                         1
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                         6
                             Attorneys for: Defendants, City of Coalinga and City of Lindsay
                         7
                         8
                                                   IN THE UNITED STATES DISTRICT COURT
                         9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
                    10       NORTH COAST RIVERS ALLIANCE,                           Case No.: 1:16-cv-307
                    11       CALIFORNIA SPORTFISHING
                             PROTECTION ALLIANCE, PACIFIC                           CITY OF LINDSAY AND CITY OF
                    12       COAST FEDERATION OF FISHERMEN’S
                             ASSOCIATIONS, SAN FRANCISCO                            COALINGA’S ANSWER TO THE THIRD
                    13       CRAB BOAT OWNERS ASSOCIATION,                          AMENDED COMPLAINT
                             INC., and INSTITUTE FOR FISHERIES
                    14       RESOURCES,
                    15                    Plaintiff,
                                    vs.
                    16
                             UNITED STATES DEPARTMENT OF THE
                    17       INTERIOR, UNITED STATES BUREAU
                             OF RECLAMATION, CITY OF FOLSOM;
                    18       CITY OF ROSEVILLE; EAST BAY
                             MUNICIPAL UTILITY DISTRICT;
                    19       PLACER COUNTY WATER AGENCY;
                    20       SACRAMENTO COUNTY WATER
                             AGENCY; SACRAMENTO MUNICIPAL
                    21       UTILITY DISTRICT; SAN JUAN WATER
                             DISTRICT; WESTLANDS WATER
                    22       DISTRICT DISTRIBUTION DISTRICT
                             NO. 1; WESTLANDS WATER DISTRICT
                    23       DISTRIBUTION DISTRICT NO. 2;
                             WESTLANDS WATER DISTRICT
                    24       FINANCING CORPORATION; CITY OF
                             WEST SACRAMENTO; CITY OF SHASTA
                    25       LAKE; MOUNTAIN GATE COMMUNITY
                    26       SERVICES DISTRICT; SHASTA
                             COMMUNITY SERVICES DISTRICT;
                    27       SHASTA COUNTY WATER AGENCY;
                             CITY OF REDDING; 4-M WATER
                    28       DISTRICT; BELLA VISTA WATER
                                                                                1
GRISWOLD, LaSALLE,
  COBB, DOWD &
     GIN, LLP                           CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
 111 E. SEVENTH STREET
   HANFORD, CA 93230
                                                                                                                        COMPLAINT
                                                   North Coast Rivers Alliance, et al. v. United Stated Department of the Interior, et al.
                                                                              Eastern District of California Case Number 1:16-cv-307
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                             DISTRICT; COLUSA COUNTY WATER
                         1   DISTRICT; CORNING WATER
                             DISTRICT; CORTINA WATER DISTRICT;
                         2   DUNNIGAN WATER DISTRICT; GLIDE
                         3   WATER DISTRICT; KANAWHA WATER
                             DISTRICT; LA GRANDE WATER
                         4   DISTRICT; STONY CREEK WATER
                             DISTRICT; CENTERVILLE COMMUNITY
                         5   SERVICES DISTRICT; CENTRAL SAN
                             JOAQUIN WATER CONSERVATION
                         6   DISTRICT; DAVIS WATER DISTRICT;
                             DEL PUERTO WATER DISTRICT;
                         7   GLENN VALLEY WATER DISTRICT;
                             MYERS-MARSH MUTUAL WATER
                         8   COMPANY; ORLAND-ARTOIS WATER
                         9   DISTRICT; STOCKTON EAST WATER
                             DISTRICT; WESTSIDE WATER
                    10       DISTRICT; BANTA-CARBONA
                             IRRIGATION DISTRICT; BYRON
                    11       BETHANY IRRIGATION DISTRICT;
                             EAGLE FIELD WATER DISTRICT;
                    12       FRESNO SLOUGH WATER DISTRICT;
                             HOLTHOUSE WATER DISTRICT; JAMES
                    13       IRRIGATION DISTRICT; PROBERTA
                             WATER DISTRICT; RECLAMATION
                    14       DISTRICT 1606; THE WEST SIDE
                    15       IRRIGATION DISTRICT; TRANQUILITY
                             IRRIGATION DISTRICT; WEST
                    16       STANISLAUS IRRIGATION DISTRICT;
                             PATTERSON IRRIGATION DISTRICT;
                    17       TRANQUILITY PUBLIC UTILITY
                             DISTRICT; CLEAR CREEK COMMUNITY
                    18       SERVICES DISTRICT; CONTRA COSTA
                             WATER DISTRICT; PACHECO WATER
                    19       DISTRICT; COUNTY OF COLUSA; EL
                             DORADO IRRIGATION DISTRICT; CITY
                    20       OF AVENAL; CITY OF COALINGA; CITY
                    21       OF HURON; SAN BENITO COUNTY
                             WATER DISTRICT; MERCY SPRINGS
                    22       WATER DISTRICT; CITY OF LINDSAY;
                             CITY OF ORANGE COVE; CITY OF
                    23       TRACY; COUNTY OF FRESNO; COUNTY
                             OF MADERA; COUNTY OF TULARE;
                    24       HILLS VALLEY IRRIGATION DISTRICT;
                             INTERNATIONAL WATER DISTRICT;
                    25       KERN-TULARE WATER DISTRICT;
                             LAGUNA WATER DISTRICT; LOWER
                    26       TULE RIVER IRRIGATION DISTRICT;
                    27       PIXLEY IRRIGATION DISTRICT; THE
                             COELHO FAMILY TRUST; and TRI
                    28       VALLEY WATER DISTRICT,
                                                                               2
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 111 E. SEVENTH STREET
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                                                                                                                       COMPLAINT
                                                  North Coast Rivers Alliance, et al. v. United Stated Department of the Interior, et al.
                                                                             Eastern District of California Case Number 1:16-cv-307
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                                       Defendants,
                         1
                             WESTLANDS WATER DISTRICT, SAN
                         2   LUIS WATER DISTRICT, and PANOCHE
                             WATER DISTRICT,
                         3
                                       Intervenor-Defendants.
                         4
                                    Defendants CITY OF LINDSAY (“City of Lindsay”) and CITY OF COALINGA (“City
                         5
                             of Coalinga”) (collectively “Defendants”) hereby submit the following Answer to the Third
                         6
                             Amended Complaint of Plaintiffs NORTH COAST RIVERS ALLIANCE, et al. (“Plaintiffs”).
                         7
                             Defendants by and through their counsel, hereby answer and assert defenses to each numbered
                         8
                             paragraph of Plaintiffs’ Third Amended Complaint for Declaratory and Injunctive Relief filed
                         9
                             December 1, 2021. The numbered paragraphs of this Answer correspond to the numbered
                    10
                             paragraphs of the Third Amended Complaint.
                    11
                    12
                                    Defendants hereby answer the Complaint as follows:
                    13
                                    1.      Responding to Paragraph 1, Defendants deny said allegations.
                    14
                                    2.      Responding to Paragraph 2, Defendants are without sufficient information to
                    15
                             admit or deny the allegations contained therein, and on this basis deny said allegations.
                    16
                                    3.      Responding to Paragraph 3, Defendants are without sufficient information to
                    17
                             admit or deny the allegations contained therein, and on this basis deny said allegations.
                    18
                                    4.      Responding to Paragraph 4, Defendants are without sufficient information to
                    19
                             admit or deny the allegations contained therein, and on this basis deny said allegations.
                    20
                                    5.      Responding to Paragraph 5, Defendants deny said allegations.
                    21
                                    6.      Responding to Paragraph 6, Defendants deny said allegations.
                    22
                                    7.      Responding to Paragraph 7, Defendants deny said allegations.
                    23
                                    8.      Responding to Paragraph 8, Defendants deny said allegations.
                    24
                                    9.      Responding to Paragraph 9, Defendants deny said allegations.
                    25
                                    10.     Responding to Paragraph 10, Defendants deny said allegations.
                    26
                                    11.     Responding to Paragraph 11, Defendants deny said allegations.
                    27
                                    12.     Responding to Paragraph 12, Defendants deny said allegations.
                    28
                                                                                  3
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 111 E. SEVENTH STREET
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                                                                                                                          COMPLAINT
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                         1          13.     Responding to Paragraph 13, Defendants deny said allegations.
                         2          14.     Responding to Paragraph 14, Defendants are without sufficient information to
                         3   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         4          15.     Responding to Paragraph 15, Defendants are without sufficient information to
                         5   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         6
                         7                                     JURISDICTION AND VENUE
                         8          16.     Responding to Paragraph 16, Defendants admit said allegations.
                         9          17.     Responding to Paragraph 17, Defendants admit said allegations.
                    10              18.     Responding to Paragraph 18, Defendants deny said allegations.
                    11              19.     Responding to Paragraph 19, Defendants are without sufficient information to
                    12       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13              20.     Responding to Paragraph 20, Defendants deny said allegations.
                    14              21.     Responding to Paragraph 21, Defendants deny said allegations.
                    15              22.     Responding to Paragraph 22, Defendants deny said allegations.
                    16              23.     Responding to Paragraph 23, Defendants deny said allegations.
                    17
                    18                                                       PARTIES
                    19              24.     Responding to Paragraph 24, Defendants are without sufficient information to
                    20       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    21              25.     Responding to Paragraph 25, Defendants are without sufficient information to
                    22       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    23              26.     Responding to Paragraph 26, Defendants are without sufficient information to
                    24       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    25              27.     Responding to Paragraph 27, Defendants are without sufficient information to
                    26       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    27              28.     Responding to Paragraph 28, Defendants are without sufficient information to
                    28       admit or deny the allegations contained therein, and on this basis deny said allegations.
                                                                                  4
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   HANFORD, CA 93230
                                                                                                                          COMPLAINT
                                                     North Coast Rivers Alliance, et al. v. United Stated Department of the Interior, et al.
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                         1          29.     Responding to Paragraph 29, Defendants deny said allegations.
                         2          30.     Responding to Paragraph 30, Defendants are without sufficient information to
                         3   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         4          31.     Responding to Paragraph 31, Defendants are without sufficient information to
                         5   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         6          32.     Responding to Paragraph 32, Defendants are without sufficient information to
                         7   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         8          33.     Responding to Paragraph 33, Defendants are without sufficient information to
                         9   admit or deny the allegations contained therein, and on this basis deny said allegations.
                    10              34.     Responding to Paragraph 34, Defendants are without sufficient information to
                    11       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    12              35.     Responding to Paragraph 35, Defendants are without sufficient information to
                    13       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    14              36.     Responding to Paragraph 36, Defendants are without sufficient information to
                    15       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    16              37.     Responding to Paragraph 37, Defendants are without sufficient information to
                    17       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    18              38.     Responding to Paragraph 38, Defendants are without sufficient information to
                    19       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    20              39.     Responding to Paragraph 39, Defendants are without sufficient information to
                    21       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    22              40.     Responding to Paragraph 40, Defendants are without sufficient information to
                    23       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    24              41.     Responding to Paragraph 41, Defendants are without sufficient information to
                    25       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    26              42.     Responding to Paragraph 42, Defendants are without sufficient information to
                    27       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    28       //
                                                                                  5
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     GIN, LLP                             CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
 111 E. SEVENTH STREET
   HANFORD, CA 93230
                                                                                                                          COMPLAINT
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                         1          43.     Responding to Paragraph 43, Defendants are without sufficient information to
                         2   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3          44.     Responding to Paragraph 44, Defendants are without sufficient information to
                         4   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5          45.     Responding to Paragraph 45, Defendants are without sufficient information to
                         6   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7          46.     Responding to Paragraph 46, Defendants are without sufficient information to
                         8   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9          47.     Responding to Paragraph 47, Defendants are without sufficient information to
                    10       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11              48.     Responding to Paragraph 48, Defendants are without sufficient information to
                    12       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13              49.     Responding to Paragraph 49, Defendants are without sufficient information to
                    14       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    15              50.     Responding to Paragraph 50, Defendants are without sufficient information to
                    16       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    17              51.     Responding to Paragraph 51, Defendants are without sufficient information to
                    18       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    19              52.     Responding to Paragraph 52, Defendants are without sufficient information to
                    20       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    21              53.     Responding to Paragraph 53, Defendants are without sufficient information to
                    22       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    23              54.     Responding to Paragraph 54, Defendants are without sufficient information to
                    24       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    25              55.     Responding to Paragraph 55, Defendants are without sufficient information to
                    26       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    27              56.     Responding to Paragraph 56, Defendants are without sufficient information to
                    28       admit or deny the allegations contained therein, and on this basis deny said allegations.
                                                                                  6
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     GIN, LLP                             CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
 111 E. SEVENTH STREET
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                                                                                                                          COMPLAINT
                                                     North Coast Rivers Alliance, et al. v. United Stated Department of the Interior, et al.
                                                                                Eastern District of California Case Number 1:16-cv-307
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                         1          57.     Responding to Paragraph 57, Defendants are without sufficient information to
                         2   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3          58.     Responding to Paragraph 58, Defendants are without sufficient information to
                         4   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5          59.     Responding to Paragraph 59, Defendants are without sufficient information to
                         6   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7          60.     Responding to Paragraph 60, Defendants are without sufficient information to
                         8   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9          61.     Responding to Paragraph 61, Defendants are without sufficient information to
                    10       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11              62.     Responding to Paragraph 62, Defendants are without sufficient information to
                    12       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13              63.     Responding to Paragraph 63, Defendants are without sufficient information to
                    14       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    15              64.     Responding to Paragraph 64, Defendants are without sufficient information to
                    16       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    17              65.     Responding to Paragraph 65, Defendants are without sufficient information to
                    18       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    19              66.     Responding to Paragraph 66, Defendants are without sufficient information to
                    20       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    21              67.     Responding to Paragraph 67, Defendants are without sufficient information to
                    22       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    23              68.     Responding to Paragraph 68, Defendants are without sufficient information to
                    24       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    25              69.     Responding to Paragraph 69, Defendants are without sufficient information to
                    26       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    27              70.     Responding to Paragraph 70, Defendants are without sufficient information to
                    28       admit or deny the allegations contained therein, and on this basis deny said allegations.
                                                                                  7
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     GIN, LLP                             CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
 111 E. SEVENTH STREET
   HANFORD, CA 93230
                                                                                                                          COMPLAINT
                                                     North Coast Rivers Alliance, et al. v. United Stated Department of the Interior, et al.
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                         1          71.     Responding to Paragraph 71, Defendants are without sufficient information to
                         2   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3          72.     Responding to Paragraph 72, Defendants are without sufficient information to
                         4   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5          73.     Responding to Paragraph 73, Defendants are without sufficient information to
                         6   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7          74.     Responding to Paragraph 74, Defendants are without sufficient information to
                         8   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9          75.     Responding to Paragraph 75, Defendants are without sufficient information to
                    10       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11              76.     Responding to Paragraph 76, Defendants are without sufficient information to
                    12       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13              77.     Responding to Paragraph 77, Defendants are without sufficient information to
                    14       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    15              78.     Responding to Paragraph 78, Defendants are without sufficient information to
                    16       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    17              79.     Responding to Paragraph 79, Defendants are without sufficient information to
                    18       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    19              80.     Responding to Paragraph 80, Defendants are without sufficient information to
                    20       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    21              81.     Responding to Paragraph 81, Defendants are without sufficient information to
                    22       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    23              82.     Responding to Paragraph 82, Defendants are without sufficient information to
                    24       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    25              83.     Responding to Paragraph 83, Defendants are without sufficient information to
                    26       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    27              84.     Responding to Paragraph 84, City of Coalinga admits said allegations.
                    28       //
                                                                                  8
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     GIN, LLP                             CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
 111 E. SEVENTH STREET
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                                                                                                                          COMPLAINT
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                         1          85.     Responding to Paragraph 85, Defendants are without sufficient information to
                         2   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3          86.     Responding to Paragraph 86, Defendants are without sufficient information to
                         4   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5          87.     Responding to Paragraph 87, Defendants are without sufficient information to
                         6   admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7          88.     Responding to Paragraph 88, City of Lindsay admits said allegations.
                         8          89.     Responding to Paragraph 89, Defendants are without sufficient information to
                         9   admit or deny the allegations contained therein, and on this basis deny said allegations.
                    10              90.     Responding to Paragraph 90, Defendants are without sufficient information to
                    11       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    12              91.     Responding to Paragraph 91, Defendants are without sufficient information to
                    13       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    14              92.     Responding to Paragraph 92, Defendants are without sufficient information to
                    15       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    16              93.     Responding to Paragraph 93, Defendants are without sufficient information to
                    17       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    18              94.     Responding to Paragraph 94, Defendants are without sufficient information to
                    19       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    20              95.     Responding to Paragraph 95, Defendants are without sufficient information to
                    21       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    22              96.     Responding to Paragraph 96, Defendants are without sufficient information to
                    23       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    24              97.     Responding to Paragraph 97, Defendants are without sufficient information to
                    25       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    26              98.     Responding to Paragraph 98, Defendants are without sufficient information to
                    27       admit or deny the allegations contained therein, and on this basis deny said allegations.
                    28       //
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  COBB, DOWD &
     GIN, LLP                             CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
 111 E. SEVENTH STREET
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                                                                                                                          COMPLAINT
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                         1           99.      Responding to Paragraph 99, Defendants are without sufficient information to
                         2    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3           100.     Responding to Paragraph 100, Defendants are without sufficient information to
                         4    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5           101.     Responding to Paragraph 101, Defendants are without sufficient information to
                         6    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7           102.     Responding to Paragraph 102, Defendants are without sufficient information to
                         8    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9           103.     Responding to Paragraph 103, Defendants are without sufficient information to
                    10        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11               104.     Responding to Paragraph 104, Defendants are without sufficient information to
                    12        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13
                    14                                                    BACKGROUND
                    15               105.     Responding to Paragraph 105, Defendants deny Plaintiff’s first sentence and as to
                    16        the remaining allegations, Defendants are without sufficient information to admit or deny the
                    17        allegations contained therein, and on this basis deny said allegations.
                    18               106.     Responding to Paragraph 106, Defendants are without sufficient information to
                    19        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    20               107.     Responding to Paragraph 107, Defendants are without sufficient information to
                    21        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    22               108.     Responding to Paragraph 108, Defendants are without sufficient information to
                    23        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    24               109.     Responding to Paragraph 109, Defendants are without sufficient information to
                    25        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    26               110.     Responding to Paragraph 110, Defendants are without sufficient information to
                    27        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    28        //
                                                                                    10
GRISWOLD, LaSALLE,
  COBB, DOWD &
     GIN, LLP                               CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
 111 E. SEVENTH STREET
   HANFORD, CA 93230
                                                                                                                            COMPLAINT
                                                       North Coast Rivers Alliance, et al. v. United Stated Department of the Interior, et al.
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                         1           111.     Responding to Paragraph 111, Defendants are without sufficient information to
                         2    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3           112.     Responding to Paragraph 112, Defendants are without sufficient information to
                         4    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5           113.     Responding to Paragraph 113, Defendants are without sufficient information to
                         6    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7           114.     Responding to Paragraph 114, Defendants are without sufficient information to
                         8    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9           115.     Responding to Paragraph 115, Defendants are without sufficient information to
                    10        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11               116.     Responding to Paragraph 116, Defendants are without sufficient information to
                    12        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13               117.     Responding to Paragraph 117, Defendants are without sufficient information to
                    14        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    15               118.     Responding to Paragraph 118, Defendants are without sufficient information to
                    16        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    17               119.     Responding to Paragraph 119, Defendants are without sufficient information to
                    18        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    19               120.     Responding to Paragraph 120, Defendants are without sufficient information to
                    20        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    21               121.     Responding to Paragraph 121, Defendants are without sufficient information to
                    22        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    23               122.     Responding to Paragraph 122, Defendants are without sufficient information to
                    24        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    25               123.     Responding to Paragraph 123, Defendants are without sufficient information to
                    26        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    27               124.     Responding to Paragraph 124, Defendants are without sufficient information to
                    28        admit or deny the allegations contained therein, and on this basis deny said allegations.
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GRISWOLD, LaSALLE,
  COBB, DOWD &
     GIN, LLP                               CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
 111 E. SEVENTH STREET
   HANFORD, CA 93230
                                                                                                                            COMPLAINT
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                         1           125.     Responding to Paragraph 125, Defendants are without sufficient information to
                         2    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3           126.     Responding to Paragraph 126, Defendants are without sufficient information to
                         4    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5           127.     Responding to Paragraph 127, Defendants are without sufficient information to
                         6    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7           128.     Responding to Paragraph 128, Defendants are without sufficient information to
                         8    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9           129.     Responding to Paragraph 129, Defendants are without sufficient information to
                    10        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11               130.     Responding to Paragraph 130, Defendants are without sufficient information to
                    12        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13               131.     Responding to Paragraph 131, Defendants are without sufficient information to
                    14        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    15               132.     Responding to Paragraph 132, Defendants are without sufficient information to
                    16        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    17               133.     Responding to Paragraph 133, Defendants are without sufficient information to
                    18        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    19               134.     Responding to Paragraph 134, Defendants are without sufficient information to
                    20        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    21               135.     Responding to Paragraph 135, Defendants are without sufficient information to
                    22        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    23               136.     Responding to Paragraph 136, Defendants are without sufficient information to
                    24        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    25               137.     Responding to Paragraph 137, Defendants are without sufficient information to
                    26        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    27               138.     Responding to Paragraph 138, Defendants are without sufficient information to
                    28        admit or deny the allegations contained therein, and on this basis deny said allegations.
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                                                                                                                            COMPLAINT
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                         1                                        FIRST CLAIM FOR RELIEF
                         2         (Violation of National Environmental Policy Act - Failure to Prepare an EIS for
                         3                                             Repayment Contracts)
                         4           139.     Defendants incorporate by reference each admission, denial, and allegation set
                         5    forth in the foregoing paragraphs.
                         6           140.     Responding to Paragraph 140, Defendants are without sufficient information to
                         7    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         8           141.     Responding to Paragraph 141, Defendants are without sufficient information to
                         9    admit or deny the allegations contained therein, and on this basis deny said allegations.
                    10               142.     Responding to Paragraph 142, Defendants are without sufficient information to
                    11        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    12               143.     Responding to Paragraph 143, Defendants are without sufficient information to
                    13        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    14               144.     Responding to Paragraph 144, Defendants are without sufficient information to
                    15        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    16               145.     Responding to Paragraph 145, Defendants are without sufficient information to
                    17        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    18               146.     Responding to Paragraph 146, Defendants are without sufficient information to
                    19        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    20               147.     Responding to Paragraph 147, Defendants are without sufficient information to
                    21        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    22               148.     Responding to Paragraph 148, Defendants are without sufficient information to
                    23        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    24               149.     Responding to Paragraph 149, Defendants are without sufficient information to
                    25        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    26               150.     Responding to Paragraph 150, Defendants are without sufficient information to
                    27        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    28        //
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GRISWOLD, LaSALLE,
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     GIN, LLP                               CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
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                         1           151.     Responding to Paragraph 151, Defendants are without sufficient information to
                         2    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3           152.     Responding to Paragraph 152, Defendants are without sufficient information to
                         4    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5           153.     Responding to Paragraph 153, Defendants are without sufficient information to
                         6    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7           154.     Responding to Paragraph 154, Defendants are without sufficient information to
                         8    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9
                    10                                          SECOND CLAIM FOR RELIEF
                    11            (Violation of Central Valley Project Improvement Act - Failure to Prepare an EIS
                    12                                                 Repayment Contracts)
                    13               155.     Defendants incorporate by reference each admission, denial, and allegation set
                    14        forth in the foregoing paragraphs.
                    15               156.     Responding to Paragraph 156, Defendants are without sufficient information to
                    16        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    17               157.     Responding to Paragraph 157, Defendants are without sufficient information to
                    18        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    19               158.     Responding to Paragraph 158, Defendants are without sufficient information to
                    20        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    21               159.     Responding to Paragraph 159, Defendants are without sufficient information to
                    22        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    23
                    24                                           THIRD CLAIM FOR RELIEF
                    25        (Violation of 43 U.S.C. §§ 423e and 511 Requiring Validation Judgments for CVP Water
                    26                                                        Contracts )
                    27               160.     Defendants incorporate by reference each admission, denial, and allegation set
                    28        forth in the foregoing paragraphs.
                                                                                    14
GRISWOLD, LaSALLE,
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     GIN, LLP                               CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
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                                                                                                                            COMPLAINT
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                         1           161.     Responding to Paragraph 161, Defendants are without sufficient information to
                         2    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3           162.     Responding to Paragraph 162, Defendants are without sufficient information to
                         4    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5           163.     Responding to Paragraph 163, Defendants are without sufficient information to
                         6    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7           164.     Responding to Paragraph 164, Defendants are without sufficient information to
                         8    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9           165.     Responding to Paragraph 165, Defendants are without sufficient information to
                    10        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11               166.     Responding to Paragraph 166, Defendants are without sufficient information to
                    12        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13               167.     Responding to Paragraph 167, Defendants are without sufficient information to
                    14        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    15               168.     Responding to Paragraph 168, Defendants are without sufficient information to
                    16        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    17               169.     Responding to Paragraph 169, Defendants are without sufficient information to
                    18        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    19               170.     Responding to Paragraph 170, Defendants are without sufficient information to
                    20        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    21               171.     Responding to Paragraph 171, Defendants are without sufficient information to
                    22        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    23               172.     Responding to Paragraph 172, Defendants are without sufficient information to
                    24        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    25               173.     Responding to Paragraph 173, Defendants are without sufficient information to
                    26        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    27               174.     Responding to Paragraph 174, Defendants are without sufficient information to
                    28        admit or deny the allegations contained therein, and on this basis deny said allegations.
                                                                                    15
GRISWOLD, LaSALLE,
  COBB, DOWD &
     GIN, LLP                               CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
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                         1           175.     Responding to Paragraph 175, Defendants are without sufficient information to
                         2    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3           176.     Responding to Paragraph 176, Defendants are without sufficient information to
                         4    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5           177.     Responding to Paragraph 177, Defendants are without sufficient information to
                         6    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7           178.     Responding to Paragraph 178, Defendants are without sufficient information to
                         8    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9           179.     Responding to Paragraph 179, Defendants are without sufficient information to
                    10        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11               180.     Responding to Paragraph 180, Defendants are without sufficient information to
                    12        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13               181.     Responding to Paragraph 181, Defendants are without sufficient information to
                    14        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    15               182.     Responding to Paragraph 182, Defendants are without sufficient information to
                    16        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    17               183.     Responding to Paragraph 183, Defendants are without sufficient information to
                    18        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    19
                    20                                          FOURTH CLAIM FOR RELIEF
                    21                 (Violation of Reclamation Law Requirements for CVP Water Contracts)
                    22               184.     Defendants incorporate by reference each admission, denial, and allegation set
                    23        forth in the foregoing paragraphs.
                    24               185.     Responding to Paragraph 185, Defendants are without sufficient information to
                    25        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    26               186.     Responding to Paragraph 186, Defendants are without sufficient information to
                    27        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    28        //
                                                                                    16
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                         1           187.       Responding to Paragraph 187, Defendants are without sufficient information to
                         2    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         3           188.       Responding to Paragraph 188, Defendants are without sufficient information to
                         4    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         5           189.       Responding to Paragraph 189, Defendants are without sufficient information to
                         6    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         7           190.       Responding to Paragraph 190, Defendants are without sufficient information to
                         8    admit or deny the allegations contained therein, and on this basis deny said allegations.
                         9           191.       Responding to Paragraph 191, Defendants are without sufficient information to
                    10        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    11               192.       Responding to Paragraph 192, Defendants are without sufficient information to
                    12        admit or deny the allegations contained therein, and on this basis deny said allegations.
                    13
                    14                                     RESPONSE TO PRAYER FOR RELIEF
                    15               The remainder of the Third Amended Complaint constitutes Plaintiffs’ prayer for relief
                    16        to which no response is required. Defendants deny the Plaintiffs are entitled to any of the relief
                    17        they seek in their Prayer for Relief, or any relief whatsoever. Defendants deny all allegations in
                    18        Plaintiffs’ Third Amended Complaint, whether express or implied, not otherwise specifically
                    19        admitted herein. Defendants have insufficient knowledge or information on which to form a
                    20        belief as to whether Defendants have any additional, yet unstated, defenses available. Defendants
                    21        reserve the right to assert additional defenses in the event further proceedings indicate it would
                    22        be appropriate.
                    23
                    24                                            AFFIRMATIVE DEFENSES
                    25                                         FIRST AFFIRMATIVE DEFENSE
                    26                                               (Failure to State a Claim)
                    27               As for a First Affirmative Defense, Defendants allege that the FAC fails to state facts
                    28        constituting a claim for relief under federal law.
                                                                                    17
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                         1                                  SECOND AFFIRMATIVE DEFENSE
                         2                                           (Statute of Limitations)
                         3            As for a Second Affirmative Defense, Defendants allege that the FAC, either in whole or
                         4    in part, is barred by the applicable statute of limitations.
                         5                                   THIRD AFFIRMATIVE DEFENSE
                         6                             (Failure to Exhaust Administrative Remedies)
                         7            As for a Third Affirmative Defense, Defendants allege that Plaintiffs have failed to
                         8    exhaust the required administrative remedies necessary in order to prevail upon any of the causes
                         9    of action alleged in the FAC.
                    10                                      FOURTH AFFIRMATIVE DEFENSE
                    11                                                         (Laches)
                    12                As for a Fourth Affirmative Defense, Defendants allege that the FAC, either in whole or
                    13        in part, is barred by the doctrine of laches.
                    14                                       FIFTH AFFIRMATIVE DEFENSE
                    15                                                        (Estoppel)
                    16                As for a Fifth Affirmative Defense, Defendants allege that Plaintiffs, by their acts and
                    17        omissions and otherwise, are estopped from asserting the matters alleged in the FAC.
                    18                                       SIXTH AFFIRMATIVE DEFENSE
                    19                                            (No Private Right of Action)
                    20                As for a Sixth Affirmative Defense, Defendants allege that Federal law does not authorize
                    21        a private right of action against Federal Defendants in this matter.
                    22                                     SEVENTH AFFIRMATIVE DEFENSE
                    23                                              (Impairment of Contract)
                    24                As for a Seventh Affirmative Defense, Defendants allege that the relief Plaintiffs seek is
                    25        unlawful because it would result in an impairment of Defendants’ contracts.
                    26        //
                    27        //
                    28        //
                                                                                   18
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     GIN, LLP                              CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
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                         1                                  EIGHTH AFFIRMATIVE DEFENSE
                         2                                                  (Vagueness)
                         3           As for an Eighth Affirmative Defense, Defendants allege that Plaintiffs’ claims for relief
                         4    as pled in the Complaint are vague and uncertain.
                         5                                   NINTH AFFIRMATIVE DEFENSE
                         6                                                    (Waiver)
                         7           As for a Ninth Affirmative Defense, Defendants allege that Plaintiffs’ claims are barred
                         8    by principles of waiver.
                         9                                   TENTH AFFIRMATIVE DEFENSE
                    10                                       (Rescission as an Improper Remedy)
                    11               As for a Tenth Affirmative Defense, Defendants allege that Plaintiffs’ claims seeking
                    12        rescission is barred by applicable law.
                    13
                    14                                                        PRAYER
                    15               WHEREFORE, Defendant/Defendants requests judgment as follows:
                    16           1. That Plaintiffs takes nothing and is awarded no relief by reason of the Third Amended
                    17        Complaint;
                    18           2. That the Court dismiss the Third Amended Complaint in its entirety with prejudice;
                    19           3. That Defendants be awarded its costs of suit, including its attorneys’ fees to the extent
                    20        permitted by law or contract; and
                    21           4. For such other and further relief as the Court may deem just and proper.
                    22
                    23        Dated: February 22, 2022                          GRISWOLD, LaSALLE, COBB,
                                                                                     DOWD & GIN, L.L.P.
                    24
                    25                                                          By: /s/ Mario U. Zamora
                                                                                   MARIO U. ZAMORA
                    26                                                             Attorneys for: City of Coalinga and City of
                    27                                                             Lindsay

                    28
                                                                                   19
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                         1                                      CERTIFICATE OF SERVICE
                         2            I hereby certify that on February 22, 2022, a copy of the foregoing was electronically
                         3    filed using the CM/ECF system, which will automatically send e-mail notification of such filing
                         4    to all attorneys of record.
                         5
                                                                                  By:           /s/ Sarah Valencia
                         6
                                                                                               SARAH VALENCIA
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  COBB, DOWD &
     GIN, LLP                              CITY OF LINDSAY AND CITY OF COALINGA’S ANSWER TO THE THIRD AMENDED
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